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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Western Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 3:21−cr−50008
                                                           Honorable Iain D. Johnston
Scott Koteski
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 29, 2021:


       MINUTE entry before the Honorable Iain D. Johnston as to Scott Koteski (1):
Sentencing hearing held on 6/29/2021. Defendant present in court with the assistance of
defense counsel. Conditions of pretrial release are modified to include the following: the
defendant is allowed to travel to Greensboro, North Carolina and shall provide pretrial
with his travel dates and designation. Enter Judgment and Commitment Order. (yxp, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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